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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                           Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC., et al.,1                                    Case No. 15-23007 (RDD)

                          Debtors.                         (Jointly Administered)


THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS on behalf of the                       Adv. Pro. No. 17-08263 (RDD)
bankruptcy estate of THE GREAT
ATLANTIC & PACIFIC TEA COMPANY,                            Hearing Date: December 14, 2017, 10:00 a.m. ET
INC., et al.,
                                                           Objection Deadline: October 20, 2017, 5:00 p.m. ET
                          Plaintiff,
v.                                                         Re: Docket No. 5

MANHATTAN BEER DISTRIBUTORS,
INC.,

                          Defendant.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: 2008 Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company. Inc. (0974); A&P
Live Better, LLC (0799); A&P Real Property, LLC (0973); APW Supermarket Corporation (7132); APW
Supermarkets, Inc. (9509); Borman's, Inc. (9761); Delaware County Dairies, Inc. (7090); Food Basics, Inc. (1210);
Kaik Save Inc. (3636); McLean Avenue Plaza Corp. (5227); Montvale Holdings. Inc. (6664); Montvale-Para
Holdings. Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge TLC (5965); Shopwell, Inc.
(0301): Super Fresh Food Markets, Inc. (2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods
of Conn., Inc. (5718); and Waldbaum, Inc. (8599).




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 NOTICE OF MANHATTAN BEER DISTRIBUTORS, INC.’S MOTION TO DISMISS
COMPLAINT WITH PREJUDICE, UNDER FEDERAL RULE OF CIVIL PROCEDURE
    12(b)(6) AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 7012(b)

       PLEASE TAKE NOTICE that defendant Manhattan Beer Distributors, Inc. (the

“Defendant”) has filed a motion (the “Motion to Dismiss”) to dismiss with prejudice the

complaint filed by plaintiff The Official Committee of Unsecured Creditors, pursuant to Federal

Rule of Civil Procedure 12(b)(6) and Federal Rule of Bankruptcy Procedure 7012(b).

       PLEASE TAKE FURTHER NOTICE that if you object to the Motion to Dismiss, you

must file a written objection with the Clerk of the United States Bankruptcy Court, and serve it

the undersigned counsel for the Defendant, by October 20, 2017 at 5:00 p.m. (Eastern Time).

       PLEASE TAKE FURTHER NOTICE that a hearing with respect to the Motion to

Dismiss has been scheduled for December 14, 2017 at 10:00 a.m. (Eastern Time) before the

Honorable    Robert    D.    Drain   at   the     United   States   Bankruptcy    Court   for   the

Southern District of New York, 300 Quarropas Street, White Plains, New York 10601.

       PLEASE TAKE FURTHER NOTICE that if you or your attorney do not take these

steps, the Court may decide that you do not oppose the relief sought in the Motion to Dismiss

and may enter an order granting the relief requested therein.

Dated: September 25, 2017

                                                       TANNENBAUM HELPERN SYRACUSE
                                                       & HIRSCHTRITT LLP

                                                       /s/ Michael J. Riela_________________
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                                                       Counsel to the Defendant


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